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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
    In re:                                                      )    Chapter 11
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        )    Case No. 19-34054-sgj11
                                                                )
                                    Reorganized Debtor.         )
                                                                )
                                                                )
    In re: CHARITABLE DAF FUND, L.P., AND
                                                                )    Adv. Pro. No. 21-03067-sgj
    CLO HOLDCO LTD.,
                                                                )
                           Plaintiffs,
                                                                )
    vs.
                                                                )
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                )
    HIGHLAND HCF ADVISOR, LTD., AND
                                                                )
    HIGHLAND CLO FUNDING, LTD.,
                                                                )
                                    Defendants                  )

1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.

WITNESS AND EXHIBIT LIST FOR HEARING ON JANUARY 25, 2023
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          REORGANIZED DEBTOR’S WITNESS AND EXHIBIT LIST WITH
      RESPECT TO EVIDENTIARY HEARING TO BE HELD ON JANUARY 25, 2023

         Highland Capital Management, L.P. (the “Debtor”) submits the following witness and

 exhibit list with respect to Defendant Highland Capital Management, L.P.’s Renewed Motion to

 Dismiss Complaint [Docket No. 122], which the Court has set for hearing at 1:30 p.m. (Central

 Time) on January 25, 2023 (the “Hearing”) in the above-styled adversary proceeding (the

 “Adversary Proceeding”).

         A.       Witnesses:

                  1.         Any witness identified by or called by any other party; and

                  2.         Any witness necessary for rebuttal.

         Exhibits:

Number                                       Exhibit                                Offered     Admitted

              HarbourVest 2017 Global Fund L.P. Proof of Claim No. 143,
              HarbourVest 2017 Global AIF L.P., Proof of Claim No. 147,
              HarbourVest Dover Street IX Investment L.P., Proof of Claim
 1.           No. 150, HV International VIII Secondary L.P., Proof of Claim
              No. 153, HarbourVest Skew Base AIF L.P., Proof of Claim No.
              154, and HarbourVest Partners L.P., Proof of Claim No. 149.
              Motion for Entry of an Order Approving Settlement with
              HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and
 2.           Authorizing Actions Consistent Therewith [Bankr. Docket No.
              1625]
              Settlement Agreement and Transfer Agreement for Ordinary
 3.           Shares of Highland CLO Funding, Ltd. [Bankr. Docket No.
              1631-1]
              James Dondero’s Objection to the Debtor’s Motion for Entry of
 4.           an Order Approving Settlement with HarbourVest [Bankr.
              Docket No. 1697]
              The Dugaboy Investment Trust and Get Good Trust’s Objection
              to the Debtor’s Motion for Entry of an Order Approving
 5.           Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150,
              153, 154) and Authorizing Actions Consistent Therewith
              [Banrk. Docket No. 1706]
              CLO Holdco, Ltd.’s Objection to HarbourVest Settlement
 6.           [Bankr. Docket No. 1707]


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Number                                       Exhibit                             Offered     Admitted

 7.           Deposition Transcript of Michael Pugatch, January 21, 2021

              Debtor’s Omnibus Reply in Support of Debtor’s Motion for
              Entry of an Order Approving Settlement with HarbourVest
 8.           (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing
              Actions Consistent Therewith [Bankr. Docket No. 1731]

 9.           Hearing Transcript, January 14, 2021

              Order Approving Debtor’s Settlement with HarbourVest (Claim
 10.          Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions
              Consistent Therewith [Bankr. Docket No. 1788]
             Original Complaint, Case No. 21-cv-00842-B, Docket No. 1
 11.
             (N.D. Tex. Apr. 12, 2021)
              Memorandum Opinion and Order, Case No. 21-cv-03129-B,
 12.          Docket No. 28 (N.D. Tex. September 2, 2021)

 13.          Members Agreement, November 15, 2017

              Second Amended           and    Restated   Investment   Advisory
 14.          Agreement




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 Dated: January 23, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

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                                             -and-

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